              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                   Case No. 19-CR-248-10-JPS
v.

EDUARDO DE JESUS ROBLES-
CAMBRONERO,                                                         ORDER

                    Defendant.


      On June 2, 2020, the parties filed a plea agreement, indicating that

Defendant had agreed to plead guilty to Count One of the Information.

(Docket #138). The parties appeared via video conference before Magistrate

Judge Nancy Joseph on July 1, 2020 to conduct a plea colloquy pursuant to

Federal Rule of Criminal Procedure 11. (Docket #164). Defendant entered a

plea of guilty as to Count One charged in the Information. Id. After

cautioning and examining Defendant under oath concerning each of the

subjects mentioned in Rule 11, Magistrate Judge Joseph determined that the

guilty plea was knowing and voluntary, and that the offense charged was

supported by an independent factual basis containing each of the essential

elements of the offense. (Docket #164 and #166).

      Thereafter,   Magistrate   Judge   Joseph      filed   a   Report   and

Recommendation with this Court, recommending that: (1) the defendant’s

plea of guilty be accepted; (2) a presentence investigation report be

prepared; and (3) the defendant be adjudicated guilty and have a sentence

imposed accordingly. (Docket #166). Pursuant to General L. R. 72(c) (E.D.

Wis.), 28 U.S.C. § 636(b)(1)(B), and Federal Rules of Criminal Procedure




 Case 2:19-cr-00248-JPS Filed 11/06/20 Page 1 of 2 Document 201
59(b) or 72(b) if applicable, the parties were advised that written objections

to that recommendation, or any part thereof, could be filed within fourteen

days of the date of service of the recommendation.

       To date, no party has filed such an objection. The Court has

considered Magistrate Judge Joseph’s recommendation and, having

received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s report and

recommendation (Docket #166) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 6th day of November, 2020.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




                            Page 2 of 2
 Case 2:19-cr-00248-JPS Filed 11/06/20 Page 2 of 2 Document 201
